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                          THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

     DISPLAY TECHNOLOGIES, LLC,
                                                         Case No. 2:23-cv-00589-JRG-RSP
                  Plaintiff,
          v.
     DEXCOM, INC.,

                  Defendants.                            JURY TRIAL DEMANDED


 PLAINTIFF’S OPPOSED MOTION FOR LEAVE TO CONDUCT EXPEDITED VENUE
 DISCOVERY AND EXTENSION OF TIME TO RESPOND TO MOTION TO DISMISS
                           OR TRANSFER

I.       SYNOPOSIS.

         Pursuant to Federal Rule of Civil Procedure (“Fed. R. Civ. P.”) 26(d)(1), Plaintiff hereby

 moves for leave to conduct limited, expedited venue discovery in this matter, and for an extension

 of time to respond to Defendant DexCom’s Motion to Dismiss Pursuant to FRCP 12(b)(3), or in

 the alternatively, transfer under Section 1406, specifically not under Section 1404 (Dkt. No. 11)

 (“Motion”). The Parties have conferred, and DexCom opposes this motion.

         Defendant filed a Motion to Dismiss, or alternatively Transfer to the Southern District of

 California (“SDCA”) on February 19, 2024, based on the premises that (1) venue is not proper in this

 District, or alternatively, (2) the Court has authority under Section 1406 to transfer the case to the

 Southern District of California. Id. Plaintiff disputes these premises and reasonably believes that

 venue is proper in this District as described in the Operative Complaint. As shown below, the

 proposed discovery is narrowly focused to resolve the Parties’ dispute.
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 II.      LEGAL STANDARD.

          Rule 26(d)(1) provides that a party may not seek discovery from any source prior to the

 parties' Rule 26(f) planning conference except when authorized by the rules, by agreement of the

 parties, or by court order. Fed. R. Civ. P. 26(d)(1). The Fifth Circuit has not adopted a standard

 for determining whether expedited discovery is warranted, but district courts within the circuit

 have applied the “good cause” standard. See Elargo Holdings, LLC v. Doe-68.105.146.38, 318

 F.R.D. 58, 61 (M.D. La. 2016); see also Mary Kay Inc. v. Beyou-Cosmetics storefront on

 www.eBay.com, No. 3:21-cv-1074-B, 2021 WL 2315097, at *1–2 (N.D.Tex. June 7, 2021)

 (noting that majority of courts in this circuit have applied the “good cause” standard)

 (citing Elargo, 318 F.R.D. at 61); El Pollo Loco, S.A. de C.V. v. El Pollo Loco, Inc., 344

 F.Supp.2d 986, 991 (S.D.Tex. 2004) (a party seeking discovery prior to the parties' Rule 26(f)

 conference has the burden of showing good cause) (citing 8 Charles A. Wright, Arthur R. Miller

 &      Richard   L.   Marcus, Federal      Practice    and   Procedure,     §   2046.1     (2d   ed.

 1998)); Uniloc USA, Inc. v. Apple Inc., No. 2:17-CV-00258-

 JRG, 2017 WL 3382806, at *1 (E.D. Tex. July 21, 2017)) (collecting cases).

 III.     ARGUMENT.
          Plaintiff maintains that good cause exists for the Court to grant this motion, and that it is
 not brought for any improper purpose, or to unnecessarily delay this action. See Uniloc USA, Inc.
 v. Apple Inc., No. 2:17-CV-00258-JRG, 2017 U.S. Dist. LEXIS 126523, at *3 (E.D. Tex. July 21,
 2017) (granting motion for expedited venue discovery); Blitzsafe Tex. LLC v. Mitsubishi Elec.
 Corp., No. 2:17-CV-00430-JRG, 2019 U.S. Dist. LEXIS 86350, *15 (E.D. Tex. May 22, 2019)
 (allowing plaintiff to serve document requests and 30(b)(6) deposition notices and ordering venue
 discovery be completed within sixty days). See also, Warren v. Bank of America, NA, No. 3:13-
 CV-1135-M, 2013WL12221859, *1 n.2 (N.D. Tex. Dec. 13, 2013) (citing In re Fannie Mae



 Opposed Motion for Venue Discovery                                                                  2
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 Derivative Litig., 227 F.R.D. 142 (D.D.C. 2005) (listing same five factors)); Hunsinger v. Doe
 Corp., No. 3:22-CV-2444-M-BH, 2022 WL 16722344, at *1 (N.D. Tex. Nov. 4, 2022).
         The case involves DexCom’s accused instrumentalities, DexCom G6 and G7, which as
 continuous glucose monitoring systems and the related App. DexCom’s products are being rolled
 out in hospitals and assisted care facilities, either approved or not by the FDA, in this District, on
 information and belief. See https://www.dexcom.com/en-us/hospital, as last visited on February
 26, 2024.
         Additional good cause exists to protect the local interest in ensuring that DexCom is
 complying with the laws of State and Federal government, including those specifically pled in the
 Operative Complaint, which include at a minimum Title 35 U.S.C. Section 271.

         Accordingly, Plaintiff requests that the Court exercise its broad discretion to allow it to
 conduct limited, expedited venue-related discovery, and stay the due date for Plaintiff’s Response
 to the Motion as follows:


         1.    Venue related discovery shall be completed within One Hundred (100) days of the

 issuance of an Order permitting venue-related discovery;

         2.   Venue related discovery shall be limited to the issues raised in the Motion and

 associated documents, and the response by Plaintiff, including information regarding DexCom’s direction

 and control of customer support centers, blood glucose testing and hospitals using the DexCom accused

 functionality with supervision of DexCom employees or agents with physical locations in this forum, and

 DexCom direction and control of any corporate entities or employees operating in this forum.

         3.    Plainitff may serve no more than ten (10) interrogatories and ten (10) document

 requests DexCom;

         4.    Defendant DexCom shall each respond to Plaintiff’s discovery requests and produce

 responsive documents, if any, in accordance to the Federal Rule of Civil Procedure;



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        5.   Plaintiff may conduct a 30(b)(6) deposition of DexCom, limited to seven (7) hours

 total on the record on or before April 15, 2024;

        6.   Plaintiff may conduct a 30(b)(1) deposition of Defendant’s declarant in support of

 their Motion, limited to seven (7) hours total on the record on or before April 15, 2024;

        7.   The foregoing discovery shall not count toward the discovery limits set forth in

 Court’s standing Discovery Order; and

        8.   Plaintiff’s response to the Motion shall be filed 21 days from the close of venue-

 related discovery.

        DexCom’s defense is that venue is not proper under Rule 12(b)(3), this opposed motion

 for venue discovery is narrowly tailored and limited to address this preliminary pleading stage

 dispute in an effective manner in compliance with Rule 1 of the Federal Rules of Civil Procedure.



 IV.    CONCLUSION.
        Good cause exists to grant Plaintiff’s opposed motion for limited, expedited motion to
 conduct venue discovery.     Accordingly, Plaintiff requests that the Court exercise its broad
 discretion to allow it to conduct limited, expedited venue-related discovery, and stay the due date
 for Plaintiff’s Response to the Motion. See Proposed Order filed concurrently with this Motion.




 Opposed Motion for Venue Discovery                                                                4
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 Dated: February 26, 2024                      Respectfully Submitted,

                                               /s/ Randall Garteiser
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                                               COUNSEL FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on this, I caused to be electronically-filed the foregoing document

 with the Clerk of Court using the Court’s CM/ECF system. As such, this document was served

 on all counsel who are deemed to have consented to electronic service.

                                                   /s/ Randall Garteiser
                                                   Randall Garteiser




                      CERTIFICATE OF GOOD FAITH CONFERENCE

        Pursuant to Eastern District of Texas Local Rule CV-7(i), counsel has complied with the

 meet and confer requirement in Local Rule CV-7(h). The Parties telephonically, and by email, met

 and conferred the week of February 19, 2024. The parties could not come to an agreement with respect



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 to the need for venue discovery when this is Rule 12(b)(3) motion and in the alternative transfer under Section

 1406. Dexcom’s counsel explained that DexCom believes that because it was not a Section 1404 motion that

 Plaintiff was not entitled to venue discovery not withstanding Rule 26(b)(1) and Rule 26(d)(1). As such, this

 motion is opposed.

                                                         /s/ Randall Garteiser
                                                         Randall Garteiser




 Opposed Motion for Venue Discovery                                                                            6
